COUNTY OF EASTERN DISTRICT UNITED STATES DISTRICT COURT OF THE STATE OF NEW YORK

DONATUS UGWUDIOBI, YUSUFU JAGANA, ANTIGHA ABIA, DOOYUM IGBUDU, CECILE MIREE, SEEMAJ POUGH, ALY
ALWARS,

 

Plaintiff(s) INDEX# 22CV4930
against Date filed 8/22/2022

INTERNATIONS TRENDZ, LLC D/B/A PRESIDENTIAL SECURITY COMPANY, ET AL,

Defendant(s)

 

STATE OF NEW YORK COUNTY OF ALBANY 399347

SECRETARY OF STATE - AFFIDAVIT OF SERVICE

EMILY M. CORBETT being duly sworn, deposes and says that deponent is not a party to this action, is over the age of 18
years and has a principal place of business in the County of Albany, State of New York. Thaton 10/5/2022 at 12:04 PM, at
the office of the Secretary of State, of the State of New York in the City of Albany, New York at 99 Washington Avenue,
he/she served a true copy of a

SUMMONS IN A CIVIL ACTION AND COLLECTIVE CLASS ACTION COMPLAINT,

on INTERNATIONS TRENDZ, LLC S/H/A INTERNATIONS TRENDZ, LLC D/B/A PRESIDENTIAL
SECURITY COMPANY, Defendant in this action.

By delivering to and leaving with NANCY DOUGHERTY, authorized agent in the office of the Secretary of the State, State of
New York, personally at the office of the Secretary of State, of the State of New York, two (2) true copies thereof and that at
the time of making such service, deponent paid said Secretary of State a fee of $40.00, unless exempt by law. That said
service was made pursuant to Section 303 LLC

Bearing Index Number and Filing Date endorsed thereon.

[ ] Deponent additionally served upon the above named defendant one (1) true copy of the RPAPL SEC. 1303 Homeowner's
Foreclosure Notice which was printed in bold, 14 point font size and printed on colored paper which is a color other than said
pleading

Description Description of the Recipient is as follows:

A Female with White skin, Brown hair, who is approximately 54 years of age
and has an approximate height of 5' 1" and approximate weight of 120 pounds.

ther identifying features are as follows: Glasses.

Lede ChB

EMILY M. CORBETT - 10/7/2022
Process Server

State of New York
County of Albany

Sworn to before me on This 7 day of Octo

  

Michelle M. Santspree Emily M. Corbett
Notary Public, State of New York Notary Public, State of New York
NO. 01SA5047611 No. 01006299470

 

Notary Publie~ . Santspree Qualfied in Albany County Qualified in Albany County
: Commission Expires August 7, 2025 Commission Expires March 24, 2026

TRI - STATE JUDICIAL SERVICES INC. - 30 S. OCEAN AVENUE - STE 303 - Freeport, NY 11520 - 516-546-5260
